                                                            THE HONORABLE B. LYNN WINMILL
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4
                                        UNITED STATES DISTRICT COURT
5                                        FOR THE DISTRICT OF IDAHO
                                             SOUTHERN DIVISION
6

7
      EQUAL EMPLOYMENT OPPORTUNITY
8
      COMMISSION,                                        CIVIL ACTION NO. 1:20-cv-00461-BLW
                           Plaintiff,
9
                  and                                    [PROPOSED] CONSENT DECREE
10
      FELICIA BAUER,
11
                           Plaintiff-Intervenor,
12
                               v.
13

14    JIVARO PROFESSIONAL
      HEADHUNTERS, LLC,
15

16                         Defendant.

17

18                                             I. INTRODUCTION
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             1.         The events leading up to this action originated when Felicia Bauer (“Ms. Bauer”)
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     filed a charge of discrimination dated February 11, 2019 with the Equal Employment Opportunity
21
     Commission ("EEOC”), Charge No. 551-2019-00686. Ms. Bauer alleged that Jivaro Professional
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23
     Headhunters, LLC (“Defendant” or “Jivaro”) discriminated against her based on her disability

24   when Defendant did not accommodate her and discharged her on October16, 2018.

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                                                                                OPPORTUNITY COMMISSION
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             2.      On July 31, 2019, the EEOC issued a Letter of Determination regarding Charge No.
1

2    551-2019-00686 with a finding of reasonable cause to believe that Defendant violated the

3    Americans with Disabilities Act of 1990, as amended (ADA), when Defendant did not reasonably

4    accommodate Ms. Bauer and discharged her on October 16, 2018.
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             3.      Thereafter, Ms. Bauer filed a second charge dated December 12, 2019 with the
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     EEOC, No. 551-2020-00627. Ms. Bauer alleged that Jivaro retaliated against her for having filed
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     Charge No. 551-2019-00686 with the EEOC, by providing a negative job reference to a potential
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     employer that contained false and misleading information, and by filing a lawsuit against her for
9

10   filing an EEOC charge.

11           4.      On April 10, 2020, the EEOC issued a Letter of Determination for charge No. 551-
12   2020-00627 finding reasonable cause to believe that Defendant retaliated against Ms. Bauer for
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     having filed an EEOC charge and engaged in other post-employment retaliatory conduct including
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     providing a negative job reference to a potential employer.
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             5.      EEOC attempted to conciliate charge No. 551-2020-00627. However, conciliation
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17
     efforts were not successful.

18           6.      The Commission filed its Complaint based on Charge No. 551-2020-00627 on

19   September 30, 2020, in the United States District Court for the District of Idaho. The EEOC’s suit
20
     alleges that Defendant retaliated against Ms. Bauer for filing a charge of disability discrimination
21
     with the EEOC in violation of the ADA. The EEOC’s Complaint sought monetary and non-
22
     monetary relief.
23
             7.      The parties want to conclude fully and finally all claims arising out of the EEOC’s
24

25   Complaint and EEOC Charge No. 551-2020-00627. The EEOC and Defendant enter into this

26   Consent Decree to further the objectives of equal employment opportunity as set forth in the ADA.


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                                    II.   JURISDICTION AND VENUE
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2            8.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

3    1343 and 1345. This action is authorized and instituted pursuant to Section 107(b) of the ADA,

4    42 U.S.C. § 12117(a), which incorporates by reference Section 706(f)(1) and (3) of Title VII of
5
     the Civil Rights Act of 1964, 42 U.S.C. § 2000e-5(f)(1) and (3) (“Title VII”), and pursuant to
6
     Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981(a).
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             9.      The employment practices alleged to be unlawful were committed within the
8
     jurisdiction of the United States District Court for the District of Idaho.
9

10
                                            III. SETTLEMENT SCOPE
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             10.     This Consent Decree is the final and complete resolution of all allegations of
12
     unlawful employment practices contained in Ms. Bauer’s EEOC Charge No. 551-2020-00627, in
13

14   the EEOC's administrative determination, and in the EEOC’s Complaint filed herein, including all

15   claims by the EEOC and Defendant for attorney fees and costs.

16           11.     This Consent Decree does not affect the EEOC’s right to process any charges that
17
     may be pending before the agency that are not covered by this Decree or future charges that may
18
     be filed against Defendant or related entities and does not affect the EEOC’s right to seek relief
19
     and/or commence civil actions on any such charges.
20
                                             IV. MONETARY RELIEF
21

22           12.     Defendant shall pay Ms. Bauer the total amount of One-hundred Twenty-Five

23   Dollars ($ 125,000.00) within ten (10) days of the date of entry of this Consent Decree. This
24   payment shall include specific amounts for back pay and non-wage damages. Ms. Bauer shall
25
     provide Jivaro with an IRS form W-4 and IRS form W-9 within five (5) days of the entry of this
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     Decree. Jivaro shall make payment by two checks – one check for wage damages in the amount
1

2    of Seven Thousand dollars ($7,000.00) less applicable withholdings and taxes, and another check

3    for non-wage damages, in the amount of One-hundred and Eighteen Thousand dollars

4    ($118,000.00)
5
              13. Payment must be made by delivering the following to Ms. Bauer c/o James Ruchti,
6
     Ms. Bauer’s counsel, 1950 East Clark Street, Suite 200, Pocatello, Idaho 83201, by certified mail
7
     with proof of delivery. Defendant will issue an IRS form W-2 for the wage payment and an IRS
8
     form 1099-MISC for the payment of non-wage damages. Defendant shall simultaneously
9

10   transmit copies fo the checks together with an accounting of the employee deductions and

11   employer contributions made, and tracking information for delivery of the checks to EEOC via
12
     email at: SEFO_JIVARO@eeoc.gov and EEOC-SEFO_COMPLIANCE@eeoc.gov.
13
              14.    Defendant will not condition the receipt of monetary relief by requiring Ms.
14
     Bauer to: (a) maintain as confidential the facts and/or allegations underlying her charges, the
15
     EEOC’s Complaint, and the terms of this Decree; (b) waive her statutory right to file a future
16

17   charge with any government agency; (c) agree to a non-disparagement and/or confidentiality

18   agreement; or (d) refrain from reapplying for a job with Defendant.
19            15.    If Defendant fails to make the payments described in paragraphs, 12 and 13,
20
     above, then Defendant agrees to pay interest on its defaulted payments at a rate calculated
21
     pursuant to 26 U.S.C. §6621(b) of the Internal Revenue Code until the same is paid, and to bear
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     any additional costs incurred by the EEOC caused by the non-compliance or delay, including but
23

24
     not limited to any and all costs arising out of the EEOC’s efforts to enforce this Decree in federal

25   court.

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2                                      V. INJUNCTIVE AND OTHER RELIEF

3            A. General Provisions

4            16.     Defendant, including its owners, officers, agents, managers, supervisors, and
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     human resource staff, and its successors and assigns, are enjoined from engaging in practices that
6
     retaliate against any person with a disability who engages in protected EEO activity. In
7
     recognition of its obligations under the ADA, Defendant shall institute the policies and practices
8
     set forth below.
9

10           17.     Defendant will provide prior written notice to any potential purchaser of its

11   business, or a purchaser of all or a portion of Defendant’s assets, and to any other potential
12   successor, of the EEOC’s lawsuit, the allegations raised in Ms. Bauer’s charges, the EEOC’s
13
     Complaint, and the existence and contents of this Consent Decree.
14
             ADA Practices Consultant
15
             18. Within thirty (30) days of entry date of this Consent Decree, Defendant shall retain an
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17
     independent consultant (“Consultant”) with expertise in the ADA, retaliation for engaging in

18   protected EEO activity, and related employment policies and practices to assist Defendant in the

19   review, development, and promulgation of policies, practices and training consistent with the
20
     requirements of this Consent Decree. Defendant shall provide materials related to the
21
     Consultant’s qualifications, experience and expertise, to the EEOC for review and
22
     comment. Within fifteen (15) days of receipt, the EEOC will advise the Defendant of any
23
     comments. The Defendant shall review the comments and act in good faith in response to those
24

25   comments. The Defendant shall bear all costs of retaining the Consultant for the duration of the

26   Consultant’s duties as the Consent Decree provides. The Consultant will have access to all


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     records, documents, data and other sources of information, which the Consultant deems
1

2    necessary or appropriate to the performance of the Consultant’s duties.

3            B. Anti-Discrimination Policies and Procedures

4            19.     Defendant shall, with the assistance of the Consultant, develop and implement anti-
5
     discrimination policies, procedures and training for all owners, agents, managers, supervisors,
6
     human resources/employee relations staff and all employees. As described in this section.
7
             20.     Within ninety (90) days from the date of entry of this Decree and for its
8
     duration, Defendant shall develop implement anti-discrimination policies and procedures
9

10   that prohibit discrimination and retaliation and explain to employees their rights and

11   responsibilities under the EEO laws. The policies will state that they are promulgated at the
12   direction of and with the endorsement by the highest level of Defendant’s management. These
13
     policies and procedures shall be provided to the EEOC for review and comment no later than
14
     thirty (30) days prior to implementation. Within fifteen (15) days of receipt, the EEOC will
15
     advise Defendant of any comments.
16

17
             21. Defendant’s anti-discrimination policies shall contain specific provisions relating to

18   the ADA, as amended, with special emphasis on the ADA’s reasonable accommodation

19   obligations and retaliation prohibition. The disability discrimination section of the policies will
20
     provide a definition of disability discrimination and must include statements that: (1) employees
21
     will be evaluated on their actual ability to perform the job and will not be evaluated based on
22
     fears, myths, and/or stereotypes about their disability and (2) retaliation against persons who
23
     engage in protected EEO activity, which includes but is not limited to filing a complaint
24

25   of disability discrimination or requesting an accommodation, is strictly prohibited. Defendant’s

26   disability discrimination policy will also include, at a minimum, an express description


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     of (1) what constitutes prohibited discrimination under the ADA; (2) the steps an applicant or
1

2    employee should take to request an accommodation; (3) how its owners, agents, managers,

3    supervisors, and human resources/employee relationspersonnel must respond to requests for

4    reasonable accommodation or when they are aware that a reasonable accommodation may be
5
     necessary; (4) its duty to engage in the interactive process with a applicant or employee with a
6
     disability who expresses a need for reasonable accommodation or for whom constructive notice
7
     of reasonable accommodation is given; (4) how an applicant or employee may request a
8
     reasonable accommodation; (5) its obligation to educate its owners, agents, managers,
9

10   supervisors, and human resources/employee relations personnel about how to respond to such

11   requests, including what factors will be considered in approving or denying the request for
12   accommodation and the time frame for approval, and (6) establish a process for employees to
13
     appeal Defendant’s rejection of their requests for accommodation. The internal appeal process
14
     must allow the applicant or employee to have the opportunity to explain the reasons why they
15
     believe that Defendant’s conclusion was incorrect.
16

17
             22. Not later than ninety (90) days after the entry of this Consent Decree, Defendant shall

18   distribute a written copy of its anti-discrimination policies to all its employees both management

19   and non-management. These policies will also be distributed to every employee hired or re-hired
20
     during the duration of this Decree with 15 days of starting employment. In addition, Defendant
21
     shall state the following on all application materials, including paper and online versions,
22
     highlighted in bold text no smaller than 12-point font: “Discrimination in all forms, including
23
     based on disability, is unacceptable at Jivaro, and Jivaro is committed to a workplace free from
24

25   discrimination and retaliation. Jivaro encourages applicants or employees who believe that they

26   were subjected to discrimination or retaliation to contact Jivaro’s human resources by


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     phone at [number], or email at [email], or mail at [mailing address]. All applicant complaints
1

2    shall be addressed promptly, and Defendant shall respond to the applicant within five (5)

3    business days of receipt.”

4            C. Policies Designed to Promote Accountability
5
             23. Within ninety (90) days from the date of entry of this Decree and for its duration,
6
     Defendant shall adopt and implement policies and procedures that specifically advise all owners,
7
     agents, managers, supervisors, and human resources/employee relations personnel of their duty
8
     to ensure compliance with its EEO anti-discrimination policies, including the ADA, and the
9

10   prohibition against retaliation. Defendant shall impose discipline, up to and including

11   termination of employment, upon any supervisor, manager, agent, or human resources/employee
12   relations personnel, who it determines has discriminated against any applicant and/or
13
     employee on the basis of disability or retaliated against an applicant and/or employee for
14
     engaging in protected EEO activity.
15
             24. In conducting performance reviews, Defendant shall include EEO enforcement and
16

17
     compliance, including with the ADA, as standards for agents, managers, supervisors, and human

18   resources/employee relations personnel.

19           D. Policy Modifications.
20
             25. If Defendant modifies any of the policies or procedures identified in paragraphs 16-
21
     24, it shall submit to the EEOC for its review and consideration the policies and procedures no
22
     later than thirty (30) days before adoption. Within fifteen (15) days of receipt, the EEOC
23
     will review the proposed modifications and advise Defendant of any comments.
24

25           E. Training

26


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             26. As set forth below in paragraphs 27-29, Defendant shall provide, at its own cost,
1

2    separate EEO trainings at each of its facilities, for all owners, managers, agents, supervisors,

3    human resources/employee relations personnel and all non-management employees which

4    specifically covers the ADA, reasonable accommodations in the workplace and the prohibition
5
     of retaliation against any individual for engaging in protected EEO activity. Defendant will
6
     provide reasonable accommodations as necessary for any attendees with a disability.
7
             27. Not later than one-hundred-twenty (120) days after entry of this Consent Decree, and
8
     thereafter annually, Defendant shall provide an in person, interactive EEO training session to
9

10   all Defendant’s owners, agents, management personnel, supervisors, and human

11   resources/employee relations personnel at all of its facilities. The annual anti-discrimination
12   trainings shall be no less than three (3) hours in duration, and include, at a minimum, an
13
     overview of the ADA with special emphasis on employee rights and responsibilities in
14
     requesting a reasonable accommodation, employer obligations in responding to requests for
15
     reasonable accommodation, the interactive process, the employer’s ongoing obligation to ensure
16

17
     the effectiveness of reasonable accommodations, if granted, the employee’s right to appeal if

18   they believe the employer’s decision was incorrect, and the prohibition against retaliation against

19   any employee who exercises their rights under the ADA. The trainings shall be aimed at helping
20
     attendees understand how to define and identify disability discrimination and retaliation, and the
21
     steps Defendant will take to review each request for a reasonable accommodation.
22
             28. Defendant shall provide the training outlined in paragraph 27 to all newly promoted
23
     managers, supervisors, and human resources/employee relations personnel before they will be
24

25   permitted to respond to any complaint of discrimination or harassment or take part in the

26   decision making of whether to grant or deny a reasonable accommodation request.


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             29. Not later than one-hundred-twenty (120) days after entry of this Consent Decree, and
1

2    thereafter annually, Defendant shall provide an in person, interactive EEO training seminar to all

3    its employees at all of its facilities. These annual anti-discrimination trainings for employees

4    shall be no less than two (2) hours in duration, and include, at a minimum, an overview of the
5
     ADA with special emphasis on Defendant’s EEO policies relating to the ADA,
6
     including making requests for reasonable accommodation; how those requests will be
7
     processed; the employer’s obligation to engage in the interactive process; how to appeal
8
     denials of requests for reasonable accommodation and Defendant’s process to
9

10   reconsider Defendant’s decisions related to reasonable accommodation; the definition of and

11   Defendant’s policy on disability discrimination; Defendant’s complaint and investigation
12   procedures and contact information for reporting disability discrimination; bystander
13
     intervention techniques when employees witness discrimination occurring; that retaliation
14
     against an employee or applicant who engages in protected EEO activity, which includes but is
15
     not limited to requesting an accommodation or filing a complaint, is prohibited; that employees
16

17
     can file discrimination and retaliation complaints both internally and externally with the EEOC;

18   and contact information for EEOC as a resource for ADA-related inquiries and to report

19   discrimination. In addition, Defendant thereafter shall provide this training to new hires within
20
     thirty (30) days of the employee’s hire date.
21
             30. The trainings described in paragraphs 27-29 shall be developed and conducted by a
22
     third party with established experience conducting anti-discrimination and anti-retaliation
23
     training with an emphasis on the ADA. Defendant shall submit the name of the trainer, the
24

25   curriculum vitae for the trainer, and all training materials to the EEOC for review and

26


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     comment no later than ninety (90) days prior to holding the first training sessions. Within fifteen
1

2    (15) days of receipt, the EEOC will advise Defendant of any comments.

3            31. If Defendant modifies the EEO trainings identified in paragraphs 27-29 during the

4    duration of the Decree, Defendant shall submit to the EEOC for its review and comment the
5
     proposed modifications no later than thirty (30) days before adoption. Within fifteen (15) days
6
     of receipt, the EEOC will advise Defendant of any comments.
7
             32. For the duration of this Consent Decree, Defendant shall notify the EEOC of the
8
     completion of the annual training sessions and shall specify the names and job titles of the
9

10   individuals who participated in and completed the training. This information shall be provided

11   as part of the semi-annual reports Defendant submits to the EEOC.
12           F. Non-Disclosure of Information
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             33. Defendant shall ensure that no charge or allegation of discrimination against
14
     Defendant, and no reference to this lawsuit against Defendant, are included in Ms. Bauer's
15
     personnel file. Defendant shall not disclose any information or refer to any charge of
16

17
     discrimination or this lawsuit in responding to requests for information from potential

18   employers about Ms. Bauer. When fielding inquiries about Ms. Bauer, Defendant shall,

19   consistent with its usual practice, provide a neutral job reference consisting only of employment
20
     dates and position held.
21
             G. Posting
22
             34. Defendant shall post a Notice to All Employees within fourteen (14) days of entry of
23
     this Consent Decree. This Notice is attached as Exhibit A to this Consent Decree. The Notice
24

25   shall be conspicuously posted on bulletin board at all Defendant’s facilities for the duration of

26   the Consent Decree.


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             H. Reporting
1

2            35. Defendant shall report to the EEOC for a period of five (5) years. The reporting

3    period will run from the date of the entry of this Consent Decree. The reports shall be in writing

4    and submitted on a semi-annual basis beginning six (6) months after the entry of this Decree and
5
     continuing during the three-year reporting period. These semi-annual reports shall contain the
6
     following information and attachments:
7
                     a.         Certification that Defendant has:
8
                            i.     Continued to maintain its written ADA policy and procedures and
9
                                   distributed copies of its ADA policy as described in Section VI C;
10
                           ii.     Complied with the Notice Posting requirement in Section VI H;
11
                          iii.     Complied with the training provisions enumerated in this Consent
12                                 Decree, as provided in Section VI F, and provided a list of all
                                   attendees, with job titles, for each training completed;
13
                          iv.      Continued to promote accountability for compliance with the ADA as
14                                 required by Section [C]; and
15
                           v.      Complied with all other provisions of this Consent Decree.
16
                     b.     Copies of the following documents shall be included with each semi-
17                   annual report:

18                          i.     A list of all training attendees, with job titles, for each training
                                   completed;
19
                           ii.     Defendants’ current ADA policy, procedures, and documentation
20                                 maintained in accordance with the provisions of this Consent Decree
                                   and a list of any changes, modifications or revisions, if any, to these
21                                 policies;
22                                     1.      A summary of requests for accommodation, internal formal
                                       or informal complaints from applicants or employees who have
23                                     identified themselves as disabled, or any internal formal or
                                       informal complaints from applicants or employees who complain
24
                                       about retaliation. The report should identify the applicant or
25
                                       employee, and include a description of the accommodation sought,
                                       any alternative accommodations offered, the accommodation, if
26                                     any, that the Defendant provided, an explanation of the reason for


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                                     denying a request, and, for complaints, a summary of the
1
                                     complaint, the actions taken by the Defendant and the resolution of
2                                    each complaint. The report shall also contain the home address,
                                     home and cell phone numbers, and personal e-mail addresses for
3                                    all requesters and complainants.

4            36. During the pendency of this Consent Decree, Defendant shall make available human
5
     resource official, or other appropriate personnel, for audits made upon request by EEOC to
6
     determine compliance with this Consent Decree. EEOC shall provide notice of audit subject
7
     matter not later than five (5) business days in advance but, at a minimum, the audit shall include
8
     whether Defendant has terminated any individual because of disability and whether Defendant
9

10
     has received any complaints about failure to accommodate disability, discrimination against

11   individuals based on disability, or retaliation. Any requested audit will be conducted at a

12   mutually agreeable time and place.
13
          VI. ENFORCEMENT
14
             37. If the EEOC determines that Defendant has not complied with the terms of this
15
     Consent Decree, the EEOC shall provide written notification of the alleged breach
16
     to Defendant. The EEOC shall not petition the Court for enforcement of this Consent Decree for
17

18   at least forty-five days (45) days after providing written notification of the alleged breach. The

19   EEOC and Defendant shall utilize the 45-day period to engage in good-faith efforts to resolve the

20   dispute.
21
          VII. RETENTION OF JURISDICTION
22
             38. The United States District Court for the District of Idaho shall dismiss the lawsuit
23
     with prejudice and retain jurisdiction over this matter for the duration of this Consent Decree, for
24
     enforcement purposes.
25

26


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                                                                                    PHONE (206) 220-6884
      Page 13 of 16                                                                  FAX (206) 220-6911
                                                                                     TDD (206) 220-6882
             39. This Consent Decree shall be in effect for five (5) years from the date of entry of the
1

2    Decree. If the EEOC petitions the Court for breach of this Consent Decree, and the Court

3    finds Defendant to be in violation of the terms of the Consent Decree, the Court may extend the

4    duration of this Consent Decree.
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7
             Dated this 26th day of May, 2022.
8

9    BY:
10
                                                          CHRISTOPHER LAGE
     ROBERTA L. STEELE                                    Deputy General Counsel
11   Regional Attorney
                                                          GWENDOLYN YOUNG REAMS
12   DAMIEN A. LEE                                        Associate General Counsel
     Supervisory Trial Attorney
13
     TERI L. HEALY                                        Office of the General Counsel
14   Senior Trial Attorney                                131 “M” Street, N.E.
                                                          Washington, D.C. 20507
15

16
                    Attorneys for Plaintiff Equal Employment Opportunity Commission
17

18   BY:     Michael Pogue
19
     Michael D. Pogue, ISB No. 6518
     GARVIS LAW, PPLC
20   P.O. Box 3020
     Sun Valley, ID 83353
21   Tel: (208) 290-9000
     Email: mpogue@gravislaw.com
22

23   Attorneys for Defendant Jivaro Professional Headhunters, LLC

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      EEOC v. Jivaro Professional Headhunters, LLC                                 EQUAL EMPLOYMENT
                                                                                OPPORTUNITY COMMISSION
      1:20-cv-00461-BLW                                                           909 FIRST AVE., SUITE 400
      [PROPOSED] CONSENT DECREE                                                  SEATTLE, WASHINGTON 98104
                                                                                    PHONE (206) 220-6884
      Page 14 of 16                                                                  FAX (206) 220-6911
                                                                                     TDD (206) 220-6882
1                      [PROPOSED] ORDER APPROVING CONSENT DECREE

2            The Court, having considered the foregoing stipulated agreement of the parties,

3    HEREBY ORDERS THAT the Consent Decree be, and the same hereby is, approved as the final

4    decree of this Court in full settlement of this action. This lawsuit is hereby dismissed with

5    prejudice and without costs or attorneys’ fees. The Court retains jurisdiction of this matter for

6    purposes of enforcing the Consent Decree approved herein.

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9                                             DATED this ___ day of ______________, 2022.

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11                                            _____________________________________
                                              B. Lynn Winmill
12
                                              CHIEF UNITED STATES DISTRICT JUDGE
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      EEOC v. Jivaro Professional Headhunters, LLC                                 EQUAL EMPLOYMENT
                                                                                OPPORTUNITY COMMISSION
      1:20-cv-00461-BLW                                                           909 FIRST AVE., SUITE 400
      [PROPOSED] CONSENT DECREE                                                  SEATTLE, WASHINGTON 98104
                                                                                    PHONE (206) 220-6884
      Page 15 of 16                                                                  FAX (206) 220-6911
                                                                                     TDD (206) 220-6882
                             IN THE UNITED STATES DISTRICT COURT
1
                                  FOR THE DISTRICT OF IDAHO
2                                  CERTIFICATE OF SERVICE

3
                 I hereby certify that on June 3, 2022, I electronically filed the foregoing
4
     “[PROPOSED] CONSENT DECREE” with the Clerk of the court using the CM/ECF system
5

6    which will send notification of such filing to all counsel of record including:

7

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9
                                    s/ Rebecca Eaton
10                                  Lead Paralegal Specialist, EEOC

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     EEOC v. Jivaro Professional Headhunters, LLC                                  EQUAL EMPLOYMENT
                                                                                OPPORTUNITY COMMISSION
     1:20-cv-00461-BLW                                                            909 FIRST AVE., SUITE 400
     [PROPOSED] CONSENT DECREE                                                   SEATTLE, WASHINGTON 98104
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     Page 16 of 16                                                                   FAX (206) 220-6911
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